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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-0385V


    KATELIN WHIDDON,
                                                            Chief Special Master Corcoran
                        Petitioner,
    v.
                                                            Filed: September 11, 2023
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Camille Jordan Webster, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On April 4, 2022, Katelin Whiddon filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table shoulder injury related to
vaccine administration (“SIRVA”), as the result of an influenza (“flu”) vaccination
received on September 18, 2020. Petition at 1. Petitioner further alleges that her
symptoms have continued for more than six months. Petition at 17. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

      On September 10, 2023, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent states that “[s]pecifically, petitioner had no history

1
  Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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of pain, inflammation, or dysfunction of her left shoulder prior to vaccination; pain occurred
within 48 hours after receipt of an intramuscular vaccination; pain was limited to the
shoulder in which the vaccine was administered; and no other condition or abnormality
has been identified to explain petitioner’s shoulder pain.” Id. at 4-5. Respondent further
agrees that “petitioner suffered the residual effects of her condition for more than six
months”… and therefore, “based on the record as it now stands, petitioner has satisfied
all legal prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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